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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
       -v-                                    Case No. 21-MJ-00296 (GMH)

CHRISTOPHER WORRELL,                           DECLARATION OF
                                               CHRISTOPHER WORRELL
               Defendant.                      REGARDING MEDICAL
                                               TREATMENT




STATE OF FLORIDA                      )
                                      )
COUNTY OF CHARLOTTE                   )


I, Christopher Worrell of lawful age, being first duly sworn upon oath, depose and state, to-wit:

   1. I am the defendant in the above-captioned matter.

   2. I am currently incarcerated at the Florida Port Charlotte County Jail.

   3. I was first incarcerated at the Florida Port Charlotte County Jail on March 12, 2021.

   4. I first filed a written health service report with the Jail on March 12, 2021, requesting my

       cancer medication and nutritional needs relating to my cancer diagnosis be supplied.

   5. During one of my visits to the medical unit, one of the medical staff told me that this unit

       would be unable to fully treat my cancer due to limitations with staff and facilities.

   6. On my third visit with the Jail’s medical personnel on March 26, I was informed that my

       naltrexone hydrochloride prescription could not be refilled but was never informed by

       medical staff that Dr. Rucker could authorize a refill of this prescription.

   7. My first contact with a doctor at the Florida Port Charlotte County Jail was on March 29,

       2021.

   8. I only have access to a doctor in Florida Port Charlotte County Jail on Mondays.




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   9. As of today April 1, 2021, I have still not received two of my cancer related

       prescriptions, namely, Sirolimus Cream .5ml and naltrexone hydrochloride 3mg capsules.

   10. I have in my home the prescribed Sirolimus Cream and naltrexone hydrochloride.

       However, I have been informed these medications cannot be delivered to me in the jail as

       they have already been opened.

   11. My physical condition has worsened inside the jail. I have developed lymphomas on my

       neck face, chest, back, arms and legs which cause me constant pain and irritation.

   12. I have filed multiple medical grievance forms with the jail and have not received any

       relief for the failure to provide me with my cancer medications.

   13. I have been in close physical contact with inmates who do not reside in my jail’s “pod”

       both in hallways on the way to sick call and zoom court and within medical waiting

       rooms.

   14. The jail does not require inmates outside the COVID-19 containment wing to wear masks

       or any other protective coverings to prevent the spread of COVID-19 within the facility.



                                                                          /s/Christopher Worrell

                                                                                       AFFIANT



Sworn and subscribed to me on this Third day of April 2021.



                                     _______________________________




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                                                                                    Audit Trail

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